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      HOFLAND & TOMSHECK
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 4    Telephone: (702) 895-6760
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 5    Attorney for Defendant
 6
 7                            UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEVADA
 8
 9
      UNITED STATES OF AMERICA,              )
10                                           )   Case No.: 2:13-cr-0221-APG-CWH
                                             )
11    Plaintiff,                             )
12
      vs.                                    )
                                             )
13                                           )   STIPULATION AND ORDER TO
      SESLEY WILLIAMS,                       )   CONTINUE SENTENCING DATE,
14                                           )
      Defendant                              )   (SECOND REQUEST)
15                                           )

16
17           IT IS HEREBY STIPULATED, by and between the UNITED STATES OF

18    AMERICA, by and through Daniel Bogden, United States Attorney and Lisa

19    Cartier-Giroux, Assistant United States Attorney, and defendant, SESLEY

20    WILLIAMS, by and through his attorney, Joshua Tomsheck, Esq., of the law firm of

21    Hofland & Tomsheck, that the sentencing date in the above-captioned matter now

22    scheduled for September 10, 2015 be vacated and continued to a date and time

23    convenient to the Court, no sooner than sixty (60) days beyond the current setting,

24    in order for the Parties to have sufficient time to prepare for sentencing in this
25    matter.
26           This is the SECOND request by the undersigned defense counsel for a
27    continuance of the scheduled sentencing date, is made in good faith and not for the
28    purpose of delay and comports with the good cause requirements of Fed. R. Crim.
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 1    P. 32(b)(2).
 2           1.      Counsel for the Defendant was appointed after the jury verdict in this
 3    matter, to represent defendant at sentencing.
 4           2. As Counsel for Defendant was appointed post-trial, and was not a
 5    participant in the trial, a thorough review of the discovery and trial record is
 6    essential to prepare for sentencing.
 7           3.      Counsel will be out of the jurisdiction until the date currently
 8    scheduled for sentencing in this matter and will therefore be unable to adequately
 9    prepare for sentencing in this matter.
10           4.      Denial of this request for continuance would deny the parties herein
11    time and the opportunity to effectively and thoroughly prepare for the sentencing
12    hearing, taking into account the exercise of due diligence.
13           5.      Additionally, denial of this request for continuance could result in a
14
      miscarriage of justice.
15
             6.      For all of the above-stated reasons, the ends of justice would best be
16
      served by a continuance of the sentencing date.
17
18
19           DANIEL G. BOGDEN, ESQ                       HOFLAND & TOMSHECK
             Assistant United States Attorney
20
21
             __/S./_L. Cartier-Giroux_______             _/S./__J. Tomsheck_______
22           LISA CARTIER-GIROUX, ESQ.                   JOSHUA TOMSHECK, ESQ
23           Assistant United States Attorney            Counsel for Defendant

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 1                              UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEVADA
 2
 3
      UNITED STATES OF AMERICA,                )
 4                                             ) Case No.: 2:13-cr-0221-APG-CWH
                                               )
 5                 Plaintiff,                  )
      v                                        )
 6                                             )
                                               ) FINDINGS OF FACT, CONCLUSIONS
 7    SESLEY WILLIAMS,                         ) OF LAW, AND ORDER
                                               )
 8    Defendant                                )
                                               )
 9
10
            Based upon the pending Stipulation of the parties, and good cause appearing
11
      therefore, the Court finds that:
12
                   The parties have stipulated to continue the sentencing hearing date as
13
      presently scheduled.
14
                   This Court, being conviced that adequate showing has been made that
15
      were this request for continuance to be denied, counsel would not have the
16
17    necessary time to effectively prepare for the sentencing hearing, taking into account

18    the exercise of due diligence, and a miscarriage of justice could result, based on the

19    following:

20          1.     Counsel for the Defendant was appointed after the jury verdict in this

21    matter, to represent defendant at sentencing.

22          2.     As Counsel for Defendant was appointed post-trial, and was not a

23    participant in the trial, a thorough review of the discovery and trial record is

24    essential to prepare for sentencing.

25          3.     Counsel will be out of the jurisdiction until the date currently

26    scheduled for sentencing in this matter and will therefore be unable to adequately
27    prepare for sentencing in this matter.
28          4.     Denial of this request for continuance would deny the parties herein


                                                3
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 1    time and the opportunity to effectively and thoroughly prepare for the sentencing
 2    hearing, taking into account the exercise of due diligence.
 3          5.     Additionally, denial of this request for continuance could result in a
 4    miscarriage of justice.
 5          6.     For all of the above-stated reasons, the ends of justice would best be
 6    served by a continuance of the sentencing date.
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 1                                           ORDER

 2          IT IS HEREBY ORDERED, that the sentencing hearing currently scheduled
 3
      for September 10, 2015 be vacated and continued to__________________,
                                                         December 8         2015 at the
 4
 5    hour of _________.
               9:30 a.m. in Courtroom 6C.

 6
 7
            ENTERED this ______
                         4th    day of _______________,
                                        September       2015.
 8
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                                             ____________________________________
11                                           United States District Court Judge
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